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Cruz v. Guevara, et al.
Case No.: 23 CV 4268




                              EXHIBIT B
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       What happened during the Hernandez brothers’ criminal case is central to their claims in

the federal lawsuit. For example, one of the ultimate questions in the federal lawsuit is whether

there was probable cause for the Hernadez brothers’ detention and prosecution. In the underlying

criminal case, the Hernandez brothers were indicted by a grand jury. An indictment by a grand jury

is prima facie evidence that there was probable cause. The Hernandez brothers can rebut this

presumption by presenting evidence that Petitioners obtained their indictments through improper

or fraudulent means. Therefore, transcripts of the grand jury proceedings, which contain a record

of the evidence and testimony presented, are central to the Hernandez brothers’ claims and

Petitioners’ defenses.

       Additionally, the grand jury materials will shed light on: (1) the Hernandez brothers’ guilt

or innocence, (2) which officers and witnesses were interviewed by the Cook County State’s

Attorney (“CCSAO”) before the Hernandez brothers’ indictments, (3) the knowledge and

information the CCSAO had at the time the indictments were sought, (4) whether evidence was

fabricated, and (5) whether witnesses were coerced. These matters are squarely at issue in the

federal lawsuit.

       Petitioners thus have a compelling and particularized need for the grand jury materials.

Without the grand jury materials, Petitioners will be prevented from presenting a fulsome and

effective defense to the claims against them. Additionally, the grand jury materials are necessary

for impeachment and refreshing the recollections of witnesses, and testing witnesses’ credibility.

There were at least five eyewitnesses to Jorge Gonzalez’s murder, one of whom (Daniel Violante)

has already changed his story multiple times. Violante testified before the grand jury, and it is

likely that the other eyewitnesses did as well. In addition to shedding light on probable cause, the




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grand jury transcripts are needed to test witnesses’ credibility. It would be a substantial injustice to

deprive Petitioners of this crucial evidence for their defense.

       The reasons for keeping the grand jury materials secret are no longer compelling. The grand

jury proceedings in this case occurred over twenty years ago, and the jurors have long since been

discharged. The Hernandez brothers have been tried, convicted, sentenced, and released. At this

juncture, there is no concern that the Hernandez brothers will escape from custody, that the grand

jury’s deliberations will be improperly influenced, that witnesses will commit perjury before the

grand jury or at the criminal trial, or that witnesses will be discouraged from testifying freely.

Additionally, there is no reason to protect the Hernandez brothers from unwanted exposure. They

have already brought exposure by filing a federal lawsuit and publicizing it in the media.

       The grand jury materials in this case are necessary to prevent a substantial injustice in the

federal lawsuit. At this stage, over twenty years after the indictments, the need for disclosure far

outweighs the need for continued secrecy. Petitioners’ request is narrowly tailored to cover only

those materials needed for defense of the federal claims. Petitioners are only seeking the grand

jury materials from this criminal case. For all of these reasons, Petitioners respectfully request that

this Honorable Court grant this Motion, and enter the attached proposed order releasing the grand

jury materials in this case. (Ex. A, Proposed Order).

                                   FACTUAL BACKGROUND

       In 1999, Rosendo Hernandez was convicted of the first-degree murder of Jorge Gonzalez

and aggravated battery with a firearm. In 2001, Juan Hernandez was convicted of the first-degree

murder of Jorge Gonzalez, attempted first-degree murder of Juan Carlos Cruz, and aggravated

battery with a firearm. In July 2022, Judge Rosado of the Cook County Circuit Court vacated Juan

and Rosendo’s convictions.



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       On March 21, 2023, the Hernandez brothers filed a federal lawsuit against Petitioners

Reynaldo Guevara, Joseph Miedzianowski, Joel Bemis, the Estate of Robert DeGraff, Robert

Biebel, the Estate of Ernest Halvorsen, and the City of Chicago in United States District Court for

the Northern District of Illinois, styled Juan Hernandez and Rosendo Hernandez v. Reynaldo

Guevara, et al., Case No. 23-cv-01737 (the “Civil Action”) See, Ex. B, Complaint. In the Civil

Action, the Hernandez brothers allege that Petitioners, Chicago Police officers who investigated

the Jorge Gonzalez murder, violated their civil rights and caused their alleged wrongful

convictions. The allegations of the Civil Action include, inter alia, violations of due process,

malicious prosecution, unlawful detention, failure to intervene, conspiracy to violate constitutional

rights, intentional infliction of emotional distress, willful and wanton conduct, and civil

conspiracy. Petitioners bring the present Motion to Release Grand Jury Materials, including

transcripts and subpoenas in this case, for use in the Civil Action.

                                           ARGUMENT

I.     Petitioners Have a Compelling and Particularized Need for the Grand Jury Materials

       This Court should permit the disclosure of the grand jury materials in this case because

Petitioners have a compelling and particularized need which vastly outweighs any continued need

for secrecy. Section 112-6(b)(3) of the Illinois Code of Criminal Procedure states that grand jury

materials may be disclosed “when the court, preliminary to or in connection with a judicial

proceeding, directs such in the interest of justice or when the law so directs.” 725 ILCS 5/112-

6(b)(3). In deciding whether to permit the disclosure of grand jury materials, courts apply a three-

pronged test: (1) whether the material is needed to avoid a possible injustice in another judicial

proceeding; (2) whether the need for disclosure is greater than the need for continued secrecy; and




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(3) whether the request is structured to cover only the materials needed. Board of Educ. v. Verisario,

143 Ill. App. 3d 1000, 1010-11 (2nd Dist. 1986). In this case, all three prongs favor disclosure.

       The grand jury materials in this criminal case are crucial to the Civil Action. For example,

one of the ultimate questions in the Civil Action is whether there was probable cause for the

Hernandez brothers’ detention and prosecution. The existence of probable cause defeats many of

the Hernandez brothers’ claims. See e.g., Haynes v. City of Chicago, 2022 WL 1016392, *2 (N.D.

Ill. Apr. 5, 2022) (“The existence of probable cause defeats an unlawful detention claim.”);

Johnson v. Target Stores, Inc., 341 Ill. App. 3d 56, 73 (1st Dist. 2003) (“[T]he failure to prove a

lack of probable cause is fatal to a claim of malicious prosecution.”).

       “[T]he purpose of the grand jury is to decide whether probable cause exists such that a

charge should be brought.” People v. O’Dette, 2017 IL App (2d) 150884, ¶ 67. An Illinois grand

jury indictment is prima facie evidence of probable cause. Coleman v. City of Peoria, Illinois, 925

F.3d 336, 351 (7th Cir. 2019). In this case, the Hernandez brothers were indicted by the grand jury.

This is prima facie evidence of probable cause that can only be rebutted by evidence that the

Petitioners obtained the indictment through improper or fraudulent means. Id. Therefore, the grand

jury materials are necessary to show what evidence and testimony were presented to obtain the

indictments.

       The grand jury materials will also reveal the evidence that Petitioners had available at the

time and that formed their good faith basis for the existence of probable cause. This is critical to

Petitioners’ affirmative defense of qualified immunity. Thus, the entirety of the grand jury

materials in this case is relevant to the claims and defenses in the Civil Action. If Petitioners are

denied access to the grand jury materials, it will cause a substantial injustice and Petitioners will

be severely prejudiced.



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        The grand jury materials are also needed for impeachment, refreshing witnesses’

recollection, and testing credibility. See In re Cement-Concrete Block, Chicago Area, 381 F. Supp.

1108, 1110 (N.D. Ill. 1974) (permitting disclosure of grand jury transcripts to attorneys in

subsequent civil case “for use in litigation only for purposes of impeachment, refreshing the

witnesses’ recollection, and testing credibility”). After Jorge Gonzalez was shot and murdered on

June 27, 1997, four eyewitnesses identified Juan Hernandez as one of the shooters. Five

eyewitnesses identified Rosendo Hernandez as the other shooter. At least one of these

eyewitnesses, Daniel Violante (“Violante”), testified before the grand jury that the Hernandez

brothers were the shooters. It is likely that the other eyewitnesses (and Petitioners) testified before

the grand jury as well. The grand jury transcripts thus are necessary for impeachment, refreshing

recollection, and testing the credibility of these witnesses in the Civil Action.

        The conduct of eyewitness Daniel Violante illustrates the importance of the importance of

the grand jury transcripts. Violante was a member of the Maniac Latin Disciples street gang, while

the Hernandez brothers were members of the Spanish Cobras, a rival gang. (Violante Trial

Testimony, attached as Ex. C, at 15:9-14, 27:16-18). Violante witnessed the shooting of Jorge

Gonzalez. (Id. at 15:9-16:6). During a police lineup, Violante identified Juan and Rosendo

Hernandez as the shooters. (Id. at 15:19-17:7). Violante repeated this identification before the

grand jury. (Id.)

        After testifying before the grand jury, Violante was approached by two fellow Maniac Latin

Disciple gang members who pressured him into signing a statement recanting his identification of

the Hernandez brothers. (Ex. C, Violante Trial Testimony at 18:7-19:13). This was part of a broader

conspiracy between members of the Maniac Latin Disciples and Spanish Cobras to exchange false

witness recant statements to get their respective gang members out of jail. (Id. at 26:9-27:23). In a



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subsequent criminal case arising out of this conspiracy (People v. Robert Lopez, Case No. 99 CR

9384) Violante testified that his grand jury testimony in the Hernandez brothers’ case was true, and

that the recant statement he signed was false. (Id. at 29:5-15). Violante later testified as a State’s

witness in at least one of the Hernandez brothers’ criminal trials. (Id. at 17:1-22).

       Upon information and belief, Violante has changed his story again and now claims that his

initial identification, grand jury testimony, and criminal trial testimony in this case were false, and

that his recant statement was true. The grand jury transcripts are therefore necessary to impeach

Violante’s credibility and to show that he did in fact identify the Hernandez brothers as the

shooters, while under oath. Violante is just one example, and it is likely that some or all of the

other eyewitnesses also testified before the grand jury and may have similar credibility issues.

       Furthermore, the grand jury materials will shed light on the Hernandez brothers’ guilt or

innocence, which officers and witnesses were interviewed by the CCSAO, what knowledge and

information the CCSAO had prior to seeking the indictment, whether evidence was fabricated, and

whether witnesses were coerced. This is all highly relevant to the Hernandez brothers’ claims in

the Civil Action. For these reasons, there is a compelling and particular need for the grand jury

materials in this case and they should be released.

II.    There is No Compelling Need for the Continued Secrecy of the Grand Jury Materials

       Considering this criminal case’s age and ultimate conclusion, there is no compelling need

for the continued secrecy of the grand jury materials. Grand jury proceedings are kept secret for

the following reasons: (1) to prevent the escape of an indicted person; (2) to ensure the grand jury

freedom; (3) to prevent perjury of witnesses before the grand jury and later at the criminal trial;

(4) to encourage witnesses to freely testify about the commission of crimes; and (5) to protect an




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innocent person who is accused but exonerated against unwanted exposure. Verisario, 143 Ill. App.

3d at 1010-11. None of these reasons is compelling here.

        In this case, the grand jury returned its indictments in the late 1990s. There is no fear that

the Hernandez brothers will flee, that the grand jury deliberations will be improperly influenced,

or that witnesses will testify falsely before the grand jury or at the criminal trial. The release of the

grand jury materials, after a delay of over twenty years, will do little to discourage witnesses from

testifying freely. The fifth reason, to protect the privacy of the accused, does not apply here because

the Hernandez brothers were indicted. See Board of Educ., 143 Ill. App. 3d at 1011. Furthermore,

it was the Hernandez brothers themselves who brought attention to their criminal case by filing a

federal lawsuit and publicizing it in the press. For all of these reasons, there is no compelling need

for continued secrecy, and the grand jury materials should be released.

III.    Petitioners’ Request is Structured to Cover Only the Materials Needed.

        Petitioners seek these grand jury materials needed for their defense in the Civil Action. The

Hernandez brothers have put their criminal case (including the grand jury proceedings) at issue by

filing the Civil Action and accusing Petitioners of, inter alia, detaining and prosecuting them

absent probable cause. See Anilao v. Spota, 918 F. Supp. 2d 157, 164 (E.D.N.Y 2013) (holding that

all of the grand jury materials were “indispensable” to addressing probable cause determinations

at issue in false arrest and malicious prosecution claims). As explained, supra, Petitioners seek the

grand jury materials here because they are relevant and indispensable to the Civil Action.

IV.     Courts Consistently Allow Parties to Obtain Grand Jury Materials in Reversed
        Conviction Cases

        In reversed conviction civil cases such as the Civil Action, courts consistently permit

parties to obtain grand jury materials including transcripts from the underlying criminal cases,

even when the CCSAO objects. See e.g., Orders granting motion to obtain grand jury materials in

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reversed conviction civil cases, People v. Jaime Rios, Case No. 1989 CR 16525 (May 23, 2023)

Ex. D; People v. Iglesias, Case No. 1993 CR 15199 (March 25, 2022) Ex. E; People v. D. Johnson,

Case No. 1991 CR 19833 (January 12, 2022) Ex. F; People v. C. Johnson, 1996 CR 497 (July 26,

2019) Ex. G. In this case, the claims in the Civil Action are similar or identical to those in the cases

cited above, and, accordingly, should be released here for the same reasons.

                                          CONCLUSION

       WHEREFORE, Petitioners respectfully request that this Honorable Court enter an order

allowing them to have the grand jury testimony in this case transcribed by the Official Court

Reporters and produced in the Civil Action, and allowing the Public Defender’s Office and Cook

County State’s Attorney’s Office to produce the grand jury materials in their possession to

Petitioners.

Dated: February 13, 2024                        Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE
I, Tonet Ballard, a non-attorney, hereby certify that on February 13, 2024, I caused to be served
upon the above party by hand-delivering a copy of the attached Motion to Release Grand Jury
Materials to the court and served on the attorneys of record listed in the below service list by
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Case: 1:23-cv-04268 Document #: 145-3 Filed: 04/08/24 Page 92 of 99 PageID #:1915
Case: 1:23-cv-04268 Document #: 145-3 Filed: 04/08/24 Page 93 of 99 PageID #:1916
Case: 1:23-cv-04268 Document #: 145-3 Filed: 04/08/24 Page 94 of 99 PageID #:1917
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Case: 1:23-cv-04268 Document #: 145-3 Filed: 04/08/24 Page 96 of 99 PageID #:1919
Case: 1:23-cv-04268 Document #: 145-3 Filed: 04/08/24 Page 97 of 99 PageID #:1920
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